Case 1:03-cv-01265-.]DT-STA Document 38 Filed 06/06/05 Page 1 of 3 Page|D 42

IN THE UNITEI) sTATEs DISTRICT CoURT 0 ""`"*-D-C.
WESTERN DISTRICT oF TENNESSEE 5 JUN -5 A"
EASTERN DIVISION n 93 38
i`i.r:.

WCLEHK, §~Soééaouo
sHARoN DIANE BURGESS ) ' D- OF TN JACKS%®
and husband, DoUG BURGESS, )

)
Plaintiffs, )
l
vs. ) No. 1-03-1265-r-An
) JURY DEMAND
Ermcon, 1Nc., JonNsoN a JoHNsoN, )
XYZ DISTRIBUTION COMPANY, and )
JOHN DoE, )
)
Defendants. )

ORDER OF DISMISSAL WITH PREJUDICE

 

This date came the Plaintiffs and the Defendants in the captioned cause by and
through their counsel of record and stated to the Court that all issues under the original
Complaint have been resolved by way of compromise, and they jointly request that the
Court enter an Order of Dismissal with Prejudice.

IT IS, TI-IER_EFORE, ORDERED, ADJUDGED and DECREED that the Within
action be and the same is hereby dismissed with prejudice and statutory costs of this

cause are taxed to the Defendants upon which execution may issue.

Entered this the ‘; day of , 2005.

 

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JAME . TODD, U.S. DISTRICT JUDGE

 

This document entered on the docket sheet In compllance
with ama sa and/or 79 {a) FncP on f la ~ '

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APPROVED FOR ENTRY:

%Zm/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 1:03-CV-01265 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

